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                          U NITED STA TES D ISTRIC T CO U RT
                          SO U TH E RN D ISTRIC T O F FLO R ID A

                                   No.l7-2H)/'N J-SDPTD
 UNITED STA TE S O F A M ERICA

 V.

 SA M ER H .BA R M G E and
 R ENA TO J.R O DR IG UEZ

       D efendants.
                                   /

                                CRIM INAL CO VER SHEET


  1.   D id thism atteroriginate from a m atterpending in the N orthern Region ofthe U nited
       StatesA ttorney's Office priorto October 14,2003?           Y es X       No

       Did thismatteroriginatefrom am atterpending in the CentralRegion oftheUnited States
       Attorney's Oftice priorto Septem ber 1,2007?        Y es      Y    No


                                            Respectfully subm itted,

                                            W IFREDO A .FERR ER
                                            U NITED STATES A TTO RN EY

                                                             ,           ..w                sr x
                                    BY:        l        a f
                                                          / .)cj. - h '
                                                                      'N       .- .   - .
                                                            V'   ... .
                                            FRANCISCO R.M ADERAL
                                            A SSISTA NT UN ITED STA TES A TTO RN EY
                                            Fla.Bar.N o.41481
                                            99 N .E.4th Street
                                            M iam i,Florida 33132-2111
                                            TEL (305)961-9159
                                            FAX (305)530-7976
                                            francisco.maderal@ usdoj.gov
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AO91(Rev,08/09) CriminalComplaint

                                U NITED STATES D ISTRICT C OURT
                                                       forthe
                                            Southern DistrictofFlorida

               United StatesofAm erica
                           V.
              SAMER H.BARRAGE and                               casexo.)#'-Jt/J4''-/fU -,
                                                                                        5 V * t'
                                                                                               r
              RENATO J.RODRIGUEZ




                                             CRIM INAL CO M PLAINT

        1,thecomplainantinthiscase,statethatthe following istrueto the bestofmy knowledgeand belief.
Onoraboutthedatets)of               1/2013-3/2017         inthecountyof                      Mi
                                                                                              ami-Dade                inthe
  southern Districtof                Florida      ,thedefendantts)violated:
         CodeSection                                                Om nseDescription
Ti
 tle 18,United StatesCode,               Conspiracyto Comm i
                                                           ttMoney Laundering
Sections1956(h)




        Thiscriminalcomplaintisbasedonthesefacts:
SEE ATTACHED AFFIDAVIT.




        W continuedontheattachedsheet.                          '



                                                                           ry           f
                                                                                             .
                                                                                            .Z
                                                                                                 z.   .&
                                                                                    ,
                                                                     A
                                                                                    Complainant'
                                                                                               ssignature

                                                                                   Refina W ills,S/A,FBI
                                                                                    Printed nameand title

Sworntobeforemeand signed in my presence.

         3 2/'/                                                                                  '        .   #
Date:                                                       .
                                                                                                 <
                                                                                                                  -
                                                                                        Judge'
                                                                                             ssignature

City and state'
              .                                                          Andrea M .Sim onton,U.S.M agistrate Judge
                                                                                    Printednameandtitle
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                                         A FFID A VIT

         1,REFINA W ILLS,SpecialAgentwith the FederalBureau ofInvestigation (çtFB1''),
  having been firstduly sworn,do hereby deposeand state asfollows:

                                      INTR ODU CTIO N
         1.     lsubm itthis application in furtherance ofan investigation worked with the Dnzg

  EnforcementAdministration(DEA)and DepartmentofHomeland Seculity lnvestigations(HSI).
                1am SpecialAgentRefinaW illiswiththeFederalBureau oflnvestigation(FBl),
  perform ing thedutiesprovided by 1aw and regulation,and empowered to conductinvestigations

  ofoffensesagainsttheUnited States.

                lhave been employed by the FB1since April 19,2015, as a SpecialA gent.I am

  currentlyassigned totheFBlM iam iDivision,firstassignedtothe TransnationalOrganizedCrim e

  squad,since a Counterterrorism squad,both focusing on unlaw fulmoney laundering and other

  financialcrim es.Through m y training,education and experience,1have becom e fam iliarw ith the

 manner in which a wide variety ofviolationsoffederallaw,including drug trafficking, m oney

 laundering,other financialcrim es,as wellas violations of intellectualproperty rights and the

 methodsinwhichthepaym entandlaundering ofillicitproceedsare conducted.

        4.      This affidavit is m ade in support of a crim inal com plaint charging Sam er H .

 BARRAGE, and Renato J.RODRIGUEZ with conspiracy to comm it m oney laundering, in

 violationofTitle18,United StatesCode,Sections1956(h)and l956(a)(2)(a).
                Although lam fam iliarw ith the fu11breadth ofthe facts and circum stances ofthis

 investigation,lhave notincluded in the affidaviteach and every factknown to m e,butonly those

 factsand circum stancesthat1believe are sufficientto establish probable cause.
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         6.     The statements contained in this affidavit are based on my investigation,

  inform ation provided by others,and on m y experience and training as a federalagentand thatof

  otheragentsparticipating in the investigation,including agentsoftheFBI, theDEA,HSI,and the

  U.S.CustomsandBorderProtection(CBP).
                                     PR O BA BL E C A U SE
                Beginningaround January2013,Juan P.GRANDA,Sam erH . BARR AG E,Renato

  J.RODRIGUEZ,and othersconspiredto commitm oney launderingby sending billionsofdollars

  from the United Statesto Latin Am ericawith theintentto prom ote the carrying on oforganized

  criminalactivity,including illegalgold m ining,gold sm uggling and the entry ofgoods into the

  U.S.by falsemeansand statem ents,and narcoticstrafficking.

         8.     GM N D A , BA RRAG E, and ROD RIG UEZ tm dertook this conspiracy in

  connectionwiththeiremploymentatNTR M etals(<<NTR''),1apreciousmetalsrefinery.
                A sa preciousm etals refinery,N TR buysunrefined preciousm etals,such asm ined

  gold,refines it,and sells itforprotit.The profitm argins are sm all,often lessthan 0.5% ofthe

 valueofthegoldrefined.So,toincreaseprofitsNTR m ustbuyandrefineasmuchgold aspossible.

         10.   N TR em ploys ttsales''staffto find and buy as m uch gold as possible. G RAN D A

 along with BARRAGE and RODRIGUEZ wereNTR'SM iam i-based salesteam responsible for

 finding and buying gold in Latin Am erica and the Caribbean. N TR encouraged GR AN DA ,




 1 tEN TR''or CCN TR M etals''or çfElem etal'' is the brand nam e of w hat is now Elem etal LLC ,   a
 preciousmetalscompany which,according toitswebsite,çtmeltgsj,mintlsj,sellgsj,shipgs),and
 storegs)preciousmetalsaroundtheworld.''NTR isheadquarteredinDallas,Texaswith,atvarious
 timesrelevantto this Complaint,offices around the world,including a M iam ioffice located in
 D oral,Florida.



                                                2
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  SAM ER,and RODRIGUEZ to obtain as much gold as possible by compensating them with

  com m issionsbased on thevolumesofgold theypurchased.

                  ln recent years,M iami emerged as a major international gold trading hub,
  particularly forLatin Am erican gold,both legaland illegal. Themajorityofgoldimport
                                                                                    edintothe
  U.S.entersthrough the M iam ilnternationalAirport, and severalmajorgoldrefineriesoperatein

  South Florida,includingNTR.

         ILLEGAL GOLD M INING.SMUGGLING & M ONEY LAUNDERING IN LATIN AM ERICA

          12.    lllegalgold,m ined in violation offoreign law , is a significantproblem tllroughout

  Latin A m erica and particularly in Peru, where illegalmining isresponsible forthe devastation of

  largeswathsofrainforest.Becauseillegalmining occursinremotejungleareas,itisdifficultto
  accessand difficulttopolice,anditisoften controlledby organized crim eand sm uggledalongthe

  same routesasnarcotics.In Peru,illegalm ining issupported by hum an traffkking, forced adult

  and child labor,and prostitution in and around m ining cam ps. Areasin which illegalminersburn

  down the rainforestand strip aw ay the surface oftheearth rem ain barren because ofcontam ination

  from chem icals such as m ercury used in the m ining process. The M adre de Dios region and the

  city ofPuerto M aldonado,for instance,are well-known epicenters of illegal gold m ining and

  sm uggling activities in Peru.

         13.     The internationalgold trade hasbecome a com mon m ethod forthe laundering of

 illegal mining,narcotics and other cdminalproceeds.Criminals frequently trade illegal gold

 through illicit shellor front companies using false or incomplete documents, often sm uggled

 through third-party countries,and then sold to refineries in the U .S.,in an effortto hide the true

 source,ownership,and origin ofgold from foreign and U .S.law enforcem ent.




                                                 3
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          14.    Crim inals use the sam e schem e to laundernarcotics and other crim inalproceeds.

  In general,gold is a good medium form oney laundering because ithas universal and readily

  ascertainable value and is diftk ultto trace.By way of exam ple, a confidential source,z w ith

  established tiestoPeruvian narco-traffickers,explainedthatheisaware ofm illionsofdollarspaid

  in the U.S.to Peruvian narco-traffickers.The narco-traftk kersthen physically sm uggle the cash

  paymentsback to Peruwhereitisused to purchase-illegallym ined gold, and the gold isthen sold

  toretineriesintheU .S.andelsewhere.Oncethegold arrivesattherefineries, thecriminalsreceive

  w ire transferpaym entsinto the bank accountoftheir choice. On the surface,the paym entappears

  tobeforalegitimategold-saletransaction,andnotfrom any underlying criminalactivity.

                 By w ay of another exam ple,l am aw are of an instance in w hich an individual

  attem pted to purchase gold in Peru in orderto launderthe proceedsofan illegalintem etgam bling

  business operated from Costa Rica.

         16.    A cross Latin A m erica,illegal gold sm uggling and m oney laundering is a w ell-

  know n problem and a prom inentsocialand politicalissue.SeveralLatin A m erican countrieshave

  initiated illegalgold,m oney laundering,and smuggling investigations, many ofwhich involve

  gold being sold to N TR .Forexam ple,according to m edia reports:

                a.      In late 2013,Peru seized approxim ately $18 m illion worth ofgold bound
  for exportto refineries in M iam i and elsew here,including N TR , on the basis thatthe exporters

  could notdemonstratethelegalorigin,possession,orpurchase ofthego1d.3Atleastoneofthese

  com panies sending gold to N TR w as later identified as being financed by P .F., a w ell-know n


 2 This confidential source is a convicted felon with other potential credibility issues. This
 information isprovided asbackground only.
 Fhttpr//elcom ercio.pe/sociedai lim i aduanas-incauto-m edia-tonelada-oro-ilegal-usl8-m illones-
 noticia-1683890

                                                4
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  individual in Peru,previously accused but acquitted of narcotics m oney laundering.4 P.F.has

  recently been arrested by the Peruvian governm entin connection with his alleged illegal gold

  m ining and laundering scheme exceeding $500 million worth ofgold.
                 b.     By late 2014,Latin Am erican custom s datarevealed thatbeginning around

  February2014(aftertheillegalgoldseizuresandailportcrackdownsinPerul,illegallyminedgold
  from M adre de D ios and otherregionsofPeru,wasbeing sm uggled acrossthe borderinto Bolivia

  and then exported to refineriesin M iam i,including N TR .5

                        In m id-2016,Ecuadorarrested num erous individuals in connection w ith an

  approxim ate $400 m illion gold m oney laundering schem e,involving Peruvian gold plzrchased in

  theEcuadorianbordercity ofM achala,whichwasthensoldtorefineriesinM iami(independently
  knownbyyouraffianttoincludeNTR).6
                 d.     Also in m id-2016,Chile arrested numerousindividualsin cormection with

  several investigations into illegal gold sm uggling,dating back to m id-2014,involving Penzvian

  gold sm uggled into Chile near the Chilean border city of A rica and later gold from Argentina

  sm uggled into Chile via the Paso Los Libertadores route through the A ndes M ountains,the latter

  ofwhich wasthen sold to N TR in M iam i.?

           17.   U nited States custom s im port records as w ell as N TR 'S own records,confirm

  N TR'Sinvolvem entin thesehighly suspicioustransactionsand trendsfrom 2013 onw ard,the sam e


  4htT '
       .//elcomercio.pe/sociedaimadre-de-dios/m itad-expodadoras-oro-mira-mineHa-ilegal-
  noticia-1708977
  5http'
       .
        //ojo-publico.com/lz/los-vuelos-secretos-del-oro-ilegal
  fhttps.
        ./
         /www.vedicenews.coe H ta-cdm inal-oro-ecuatodano/
  7htT r//ciperchile.cl/zol6/o8/lg/la-trama-oculta-del-m ayor-contrabando-de-oro-detectado-en-
  chile/
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  tim e period in which GR AN DA , BA RRA GE, and RO D RIG U EZ conducted N TR 'S business

  throughoutLatin A m erica.

                  N TR 'S H IGHLY SUSPICIOUS LATIN AM ERICAN G OLD IM PORTS
                                                                 -




                 U nited States custom s im portrecords strongly suggestthatN TR purchased illegal

  gold in Perubeginning in late2012 and then purchased sm uggled Pertwian gold through Bolivia

  and Ecuadorin 2014.

                                 lllegalG old from Peru in 2013

         19.    ln 2013,NTR declared$9808millionworth ofgoldimportsfrom Peru,andwasthe

  largestU .S im porter ofPenw ian gold.This figure is rem arkable in thatN TR had only im ported

  $73m illion from Peruthe yearbefore,and hadvirtually no gold importsfrom Perubeforethat.

         20. Over a third ofNTR'S 2013 Peru imports($340 million)came from justfive
  com panies,now known to have been financed by P.F.Each of those com panies operated as

  apparentfrontcompanies:nonehad any U.S.goldimporthistoliesandeach operated and exported

  foronly severalm onths,m ostly one afterthe otherand w ith overlapping straw ow ners.

                Five other exporters w ith sim ilar pattem s of no im porthistory, shortbursts of

  soaring exportsand overlapping and related managem ent,accounted foranother$310 m illion of
  N TR'S 2013 Pertzim ports.And sim ilar,single com paniesw ith no im porthistoriesand shortbursts

  ofsoaringexportsmadeupthemajorityofNTR'SremainingPeruimportsin2013,includingfor
  instance,one company which exported over$50 million worth ofgold in 2013 to NTR overthe

  courseofjust6months,neverhavingpreviouslydoneso.
         22.    Thevastmajority ofthesecompaniesdid notpurportto beoperatinggold mines,
  butsim ply to be gold tçcollectorsy''a vague businessthatinvolves nothing m ore specitk than


  8These U .S.custom s im portfigures are approxim ate and rounded.

                                                6
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  som eone w ho buys gold from others.In addition,som e ofthese ççcollectors''exported m illionsof

  dollars'worth ofgold on an almostdaily basis, w hich would have required theseçdcollectors''to

  haveaccessto similaram ountsofcash to financethesedaily goldpurchases.

                  ln D ecem ber 2013, Penl cracked down on illegal gold shipm ents from its

  internationalaip ortin Lima,seizing gold,including gold destined to NTR from one ofthe P.F.

  com panies,and instituting strict gold export requirem ents and controls at Peru's intem ational

  airports.

            24.   Alm ostnone ofthe companies thatNTR imported gold from in 2013 wenton to

  exporttotheU.S.again thereafter.

            25.   Following Peru'sillegalgold crackdown,NTR'Sim portsfrom Peru sank from

  $980 million in 2013to $79 million in 2014,and asdiscussed below , its im ports from Penz's

  neighboringcountriesofEcuadorand Bolivia,grew by $485m illion.

                    lllegalG old Sm uggled through E cuador & B olivia in 2014

                  AfterPeru'sillegalgold crackdown in December2013, N TR 'S Peru gold im ports

  sarlk,and its imports from Ecuador and Bolivia grew by $485 m illion,as graphically depicted
  below :




                                                7
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                         TotalNTR Gold Im portsfrom Peru v.Ecuador& Bolivia
            $1,200,000,000
            $1000,000,000     . + - peru
               ,

                              ..* ..Ecuador& Bolivia                z N
               $800,000,000                                         .
                                                                   z<  xh
                                                               z             *
                                                           z                  *
               $600,000,000                               #z                      *x                    *
                                                                                                   ..
                                                      z                            *x       .*
                                                    #                                    ..*
               $400,000,000                     e
                                                    #                              .* *
                                                                                       .*
                                                                                        %.
                                            #                                  .*
                                                                                  .*      x
               $200,000,000                z#                                .*               N*
                                                                        ..**
                                       y                                .                          *
                                     (f***PWYXPWWYYYYY.*.***#                                          %
                                    2012                            2013                           2014

                                                                            Peru IllegalM ining
                                                                               Crackdow n


                   W ithrespecttoEcuador,in2014NTR'Sgoldimportstripledto$337million(from
  $101milliontheyearbefore),and$128millionofthatcam efrom Spartande1Ecuador,oneoftwo
  companiesconnected to the $400 million gold money-laundering schem eprosecuted în Ecuador.
  M oreover,virtually a11ofthegold NTR purchased from Ecuador,includingthegold from Spartan

  de1Ecuadorwas routed through an interm ediary company,M VP Imports LLC , a Florida entity

  whoseprincipaladdressisa sm allboutiquehom estoreon M iracle M ile in CoralGables.g

         28.       W ith respect to Bolivia,in 2014 N TR 'S gold im ports grew m ore than ten-fold to

  $270 million (from $19 million the yearbefore),and $250 million ofthatcame from several
  Boliviancompanies(andonePenwiancompany)withnohistoryofeverhavingexportedgoldto
  theU.S.from Boliviapriorto 2014,oneofwhich single-handedly accounted for$220 million.




  9Although N TR w asthe ultim ate purchaserofthe gold, M V P lm ports w asthe declared ççim porter
  ofrecord,''on U.S.custom s declarations,m asking N TR 'Srole as the ultim ate purchaser, on the
  U .S.custom s im portrecords.

                                                           8
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             Illegaland Sm uggled G old in Colom bia,Chile,G uyana,and the C aribbean

          29.     NTR'Shighly suspiciousgold importsdid notcease in 2014 and were notlim ited

   to Peru,Ecuador,and Bolivia.As NTR'S gold imports from Ecuador and Bolivia slowed after

   2014,the majority ofits imports shifted in 2015 to Peru's third neighbor:Colombiarlo with
   additionalrising importsfrom Chile,Guyana,and the Caribbean.

          30.     Altogether,NTR'Sim portrecordssuggestthatNTR im ported $100sofmillionsin
   illegalgold from Peru in 2013,and wasableto m aintain thisbillion-dollar-a-yearenterprise,by

   sm uggling illegalgold through a shifting array of Latin A m erican countries,al1falling under the

   salesresponsibility ofG RAN D A ,BA RRA GE,and ROD RIG UEZ.

                  A11told,NTR importedover$3.6billiondollars'worth ofgold from Latin Am erica
   from 2012 through 2015.

          32.     Confdentialsources and other evidence confirm thatGRANDA,together with

   BARRAGE,RODRIGUEZ and others,knowingly conspired to purchase gold with the intentto

   promote the carrying on of organized crim inal activity, including illegal gold m ining, gold

   smuggling and the entry ofgoodsinto the U.S.by false m eans and statementsto U.S.Custom s,

   andnarcoticstrafficking.



                  ILLEGAL G OLD SM UGGLING & M ONEY LAUNDERING C ONSPIM CY

          33.     N TR 'S salespersons prom ote new business and find m ore gold to purchase by

   ttsm iling and dialinp''thatis,by learning who has gold to sell,m aking introductions,forming

   custom er relationships, and m aking sales pitches designed to win new business. In form ing


   10NTR'S2015 importsfrom Colom biam orethan doubled to $722m illion,from $268 million the
   yearbefore,and accounted form ore than halfofal1of Colombia's gold exportsto the United
   States.

                                                   9
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   custom er relationships,N TR salespersons visit custom ers in country,invite them to tour N TR

   facilitiesintheU.S.,and entertainthem ,a1lin an effortto win theirbusinessandbuy theirgold so

   thatN TR can profitby refining itand the salespersons can earn com m issions.

                  N TR com petes for custom ers againstotherrefineries,al1ofw hom are offering to

   pay essentially the sam e price forthe custom er'sgold- the spotprice setby the internationalgold

   m arkets.Accordingly,the prim ary way thatNTR competesisby paying forthe gold fasterthan

   otherrefineries.Forinstance,ifççRetinery X''willpay $1,000,000 foran am ountofgold within

   48hoursofreceiving it,butNTR willpay the $1,000,000 within 24 hours,NTR willlikely win

   the business.The custom er selling gold wants paym ent as soon as possible so it can purchase

   anotherround ofgold to sellas soon aspossible.

                  M oreover,by paying its custom ers faster N TR buys m ore gold and m akes m ore

   profitsover tim e.The soonerthe custom er ispaid,the soonerthe custom er can obtain additional

   gold,and the sooner itcan sellthatadditionalgold to N TR,and the m ore frequently this cycle

   occurs,the m ore gold N TR purchasesovertim e.

                  Fora1lofthe billions ofdollars'w orth ofgold shipped from Latin Am erica to N TR

   in M iam i,N TR sentbillions ofdollars in w ire paym ents to Latin A m erica from the United States.

   ln effect,N '
               rR prom oted itsclients'businessw ith fastpaym ents,and prom oted theLatin Am erican

   gold trade in generalw ith billions ofdollarsofw ire transfers.

          37.     W ith respectto Latin Am erica,GRAN D A ,BARR AG E,RO DR IGU EZ,and others

   conspired to send theseinternationalw iresw ith the intentto prom ote furthergold transactions and

   businesses they knew involved:organized crim e,gold sm uggling and entry ofgoodsinto the U .S.

   by false m eansand statem ents,illegalm ining,and narcoticstrafficking,al1in thehopesofcreating

   m ore profitsforthem selvesand N TR.


                                                   10
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                                    E ncrypted C om m unications

          38.     Throughoutthetimeoftheconspiracy,GRANDA,BARRAGE,RODRIGUEZ and

   their co-conspirators com m unicated w ith each other and their clients prim arily via peer-to-peer

   encrypted m essaging applications on their cell phones, such as W hatsA pp, in order to avoid

   detection.Nevertheless,law enforcem enthasbeen able to obtain the contentofsome ofthese

   encrypted com m unications.

          39.     In W hatsApp group chatsbetw een GRAN D A ,BA RR AG E,and ROD RIGU EZ,a1l

   three acknowledge and discuss their conspiracy to purchase illegally m ined and sm uggled gold,

   forinstance:

                  a.     On O ctober 1,2014,G RAN D A traveled to Puerto M aldonado in Peru and

   discussed with BA R RAGE and RO D RIGU EZ their sources of illegalPeruvian gold;GM N DA

   m ade reference to him selfas a m odem -day Pablo Escobar:

                  G RAN DA :            Justlanded in Puerto 93 degrees

                  ROD RIG UEZ :         Stay safe

                  GR AN DA :            l'm like Pablo com ing to Ecuador to get the
                                        coke

                                                 ++*


                  G RAN D A :           Ihave (Person 1)'s materialrouted to the
                                        priests...
                                                 +++


                  RO DR IG UEZ:         So (Person 1)isbuyingasgcompany ljand
                                        exporting thru trade as what exporter? San
                                        Fidel?

                  G RAN DA :            She is buying butit's all under the table no
                                        docs

                  ROD RIG UEZ :         So who is legalizing it?

                                                     11
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                 GR AN DA :              And selling itto the curasthey ship underSan
                                         Fidel, or Carbocol or trade ... San Fidel
                                         Providesthe papersll. . .W hatr u trying to set
                                         m e up

                 BA RRA GE:              So a1lgetm etaliscom ing to us? Justneed to
                                         know cause we thoughtthatgcompany 1j
                                         wasdone.

                 b.     On October 28, 2014,RODRIGUEZ traveled to La Paz, Bolivia and

   complained thatitwas GRANDA'S faultthatthey w ere doing business in Bolivia because of

   GRANDA 'S role in causing Peru's illegalgold crackdown and then acknowledged purchasing

   sm uggled Peruvian gold in Bolivia:

                 R OD RIGU EZ:           Finally landed in la Paz

                                         On my way to hotelto meetgperson 2)for
                                         dilm er
                 BARR AG E:              N everbeen so happy
                                                   ***


                 ROD RIG UEZ :           lthink thisisal1Juan'sfuck up
                                                   ++*


                 BA RR AGE:              H ad he not fucked up Peru you w ouldn'tbe
                                         chasing ounces in m odern day 1972
                 R ODR IGU EZ:           H e a lying fuck up
                 G RAN D A :             I m ight have lied about fucking up, but at
                                         leastIam notin Bolivia



  11M inera San Fidel S.A .,Trade M inerals S.A .C .,and Carbocol Peru S.A .C .w ere all clients of
  N TR'S atthe tim e.A dditionally,intem alN TR em ails show thatin A ugust of 2014,GR AN DA ,
  w ith BARRA GE,and ROD RIG UEZ,subm itted a clientapplication for Trade M inerals LLC,a
  Florida entity related to clientTrade M inerals S.A .C.,in w hich SA LESPER SON 2 w ould explain
  thatthe com pany principals were a11Eçin sem inary togethery''i.e.,priestsor,in Spanish,curas.



                                                   12
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                 ROD RIG UEZ :         Fuck off

                                       Bolivia is keeping usafloat

                                       Bolivia isw here it's at
                 GRAN DA :             Yea,tella11ofm y pel'u gold good night

                                       I'
                                        m taking m y shitback

                                       lthink (BARRAGEjis smuggling the gold
                                       outofperu so hew on'
                                                          tpay m e lol

                 R ODR IGU EZ:         Y ou Peruviansfucked itup

                 BARRAGE:              Lsending imageofsmallpresumablyAfrican
                                       children?
                                       That'sthe thanksIgetforfeeding a village of
                                       niglets

                 GRAN DA :             Lm ao

                        On D ecem ber 7,2014,G RAN DA senta link to a Spanish-language online

   article from D ecember5,2014,which detailed illegalgold mining in Peru and gold smuggling

   tluough Bolivia,lzand the follow ing conversation ensued:

                 GRANDA:               Lsending Peru-Bolivia gold smuggling
                                       articlej
                                       D id u read it?
                                                    * **


                 BA RRA GE:            Juan.Find m ore.There iseven one thatcam e
                                       outon Reuters.Lookslike a hottopic allofa
                                       sudden.

                 RO DR IG UEZ:         Shit

                 BA RRA GE:            ltdoesn'tm ention us though



   12http'
         ./
          /ojo-publico.com/lz/los-a elos-secretos-del-oro-ilegal

                                                  13
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                RO DRIG UEZ :         Should Ipostpone BO LIVIA trip'??

                d.     On December19,2014,GRANDA and BARRAGE bragged to each other

  abouttheirrespective ççm ules''and theam ountofgold they have sm uggled,even sw apping pictures

  ofthe young m en they em ploy as the m ules.

                BARRAGE:              Justanotherday in Colombia

                                      150kg

                                      Lsending pictures of gold bars with and
                                      withoutblackshrink-wrappingj




                GR AN D A :          N ice
                                                  +*+


               BA RRA GE:            The m ules had to shitthepackets

               G RAN DA :            Lo1

                                     Letm e know w hen he m oves300 in one day


                                                 14
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               BARRAGE:              Lsending picture of young, presumabl
                                                                        y
                                     Colombian,malewithaO c/wlc/cq




               GRAN DA :             That's m ine

                                     Lsending picture of young, presumabl
                                                                        y
                                     Peruvian,malej




               BARR AG E:            W hat kind of lim ean robbery are you
                                     involved in now ?

               G RAN DA :            1'm in charge ofgetting usm aterial

                         On February 2, 2015,BA RRA GE, com plains about the m onth-to-date

   (M TD)gold tigures,and suggeststhatGRANDA obtain more smuggled Peruvian gold from
   Boliviaand Ecuador'
                     .

               BA RR AGE:             M TD isan ugly picture




                                               15
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                 BARR AG E:             Juan

                                        W e need m ore Peruvian gold from Bolivia
                                        and Ecuador

                                        Can u makeithappen?

                 GRANDA:                Anythingfor(RODRIGUEZ)
                         On M ay 27,2016,GRANDA com plainsaboutthevolum eofgoldbrought

   in that m ontla because ot-a -.state of-em ergency--in M adre de o iosla and com plains about not

   having been ableto sm ugglemore gold through Boliviaand Guyana:

                 G RAN D A :            Looks like 86k

                                        W egotfucked by price

                 R ODR IGU EZ:          Fuck u

                                        Stillagood month

                 GRAN D A :             A good m onth is94k+

                 BA RR AGE:             Lsending anunknownmediaflej
                 ROD RIGU EZ:           Then m u shouldhavepulled yourweight

                 GR AN DA :             I have failed... Spot price and state of
                                        em ergency in m adre de dios got us...lcaht
                                        N tj believeIdidn'tplanit
                                        Y et Bolivia & Guyana have V lP exits to
                                        export and u can't get anym ore Peruvian
                                        good?



   13In M ay 24, 2016,m edia reportsexplained thatPenlhad declared a state ofem ergency in M adre
   deDiosbecause fçhairsam plesf' rom localpeople in theM adre de Diosarea ofeastem Peru revealed
   levels ofm ercury up to 16 tim es whatitconsidered a safe lim it''and thatt<-f'he drastic m easures
   havebeen triggered bya waveofillegalgold mining in thearea thathasseen asm any as100,000
   minersdestroy vastswathes ofthe Am azon,ravage riverecosystem swith dredgers,and poison
   the water table w ith m ercury and other m ining byproducts.''https://new s.vice.com /adicle/peN -
   declares-state-of-emergency-in-its-jungles-due-to-rampant-mercury-poisoning

                                                  16
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                 RO DR IG UEZ:        Failto plan,plan to fail

                 G RAN DA :           *gold

                                      Those country's r looser than BA RRAG E'S
                                      assafterriding a horse.

                        On June 26,2016, BA RR AG E sends a link to an article about the gold

   m oney laundering arrestsin Ecuadorrelating to Spartan delEcuadorl4and warnshis colleagues

   aboutw iretapsand com m unicating via phone:

                 BARRAGE:             Lsending linktoarticlej


                 GR AN DA :          W PM is m entioned

                                     G lad w e aren't

                                     D on'tlike the factthatcallsw ere intercepted

                 BA RR AGE:          K eep telling you guysaboutthe calls

                                     H opefully thishelps

                 GR AN DA :          Y ea you are right

                                     Butthecallswithcustomers,mightjusthave
                                     to do everything face to face

                                     U don' tspeakwithcustomers,so u don'thave
                                     those situations

                                     W e need to find a w ay to avoid this

                 BA RRA GE:           Should be nothing to avoid

                                     That'sthewhole#ointyou#simplebitch




   14https'
          ./
           /ww w .vedicenew s.coe m ta-cdm inal-oro-ecuatodano/

                                                  17
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          40.     The W hatsApp chats contain num erous other com m unications am ong the co-

   conspiratorsacknowledgingandfurthering theconspiracy.ln addition,GRANDA sentnum erous

   chatsto third parties in w hich he brags abouthiscrim inalactivity,forinstance:

                  a.     0n October24,2014,G RAN DA explained to friends in a discussion about

   encryptedchats:çtAsfarassecurity,Ialreadyhavetoworryaboutintelligenceofficialsm onitoring

   m y calls with exporters anyw ays...pel'
                                          u is//1 in drug exports and illegalm ining exports.''

                  b.     On November12,2014,GRANDA braggedto friendsthatoneofhisclients

   was involved in narco-trafficking,having access to wholesale-priced kilogram s of cocaine in

   Bolivia,and thatasecond clienthad orderedthem urderofthe firstclient:

                Penlexportsthem ostillegaldnlgsin the w orld,and the only thing thatthey
                exportm orethan thatisinform algold ...Rememberwhen lwasin Bolivia
                and Isaid 1know som eonethatcan geta $700kilo ofcoke ...W ell1helped
                him m oveto cusco and geta million $ overtheborder...He isa Gennan
                that is my customer from Bolivia ... Only thing is that on Friday m y
                custom er from cusco putouta hiton him forsom e bad business.

                         On December5,2014,GRANDA senttohisfriendsthesamepictureofhis

   tdm ule''from Peru thathe would latersend to BA RRAGE,and RODRIGUEZ on December 19,

   2014 and brags;çéBehind thescenesin the gold businesskr usco #vice ...Little do u know that

   thereis$800k in abookbag underthatdesk.''

                  d.     On February 12,2016,GRAN DA 'Sfriend senthim atextçtwishing ...m y

   favoritegold smuggle(A'fc)averyhappyvalentine'sweekend''and GRANDA responded ççlolI
   canreadthejealousybetweenthelines.''
                                      C onfidentialC ooperators

                  lnterview s of severalconfidentialsources in Latin Am erica and the U nited States

   w ith personalknowledge ofthe eventshave confirm ed the crim inalconspiracy am ong G RAN DA ,

   BARRAGE,RODRIGUEZ,and others.Forinstance:

                                                   18
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          42.    ConfidentialSource 1:         ln late 2016, law         enforcem ent interview ed

   ConfidentialSource 1(CS1)regarding hisadmitted illegalgold money laundering activitiesin
   Peru.CS1 explained thathe conspired w ith G RAN DA ,BA RR AG E,and ROD RIG UEZ to traffic

   in illegalPeruvian gold,m uch ofwhich involved P.F.,and thattheconspiracy evolved overtim e

   from usingobviousPeruvian frontcompanies,tosmugglingthrough BoliviaandEcuador,tousing

   m ore sophisticated Peruvian front com panies, to sm uggling through farther out countries,

   including islandsin theCaribbean.Forinstance,according to CS1:

                 a.      ln 2013,CS 1 assisted P.F.in exporting illegally m ined gold w ithout any

   documentation to NTR through aseriesoffrontcompanies.W hen the Peruvian authoritiesbegan

   toquestion afrontcompanybecause ofthesudden high volum eofunexplained gold shipm ents,a

   new frontcom pany wascreatedandthegold shippedthrough it.CS1wasintroducedto GRANDA ,

   BAR RAG E,and RO D RIGU EZ ata birthdayparty forP.F.in early 2013,15and w ould latersee the

   N TR em ployees at several other m eetings w ith P.F., including one m eeting at P.F.'S house.

   A ccording to C S1 a11 three N TR em ployees w ere aware of P.F.'S involvem ent with the front

   com paniesand thatthe gold w as illegal.

                 b.      G RAN DA ,BAR RAG E,and RO D RIGU EZ w enton to purchase additional

   illegally m ined gold through frontcom panies in 2013 w ith CS 1,separate from the P.F.com panies.

   Thispracticeendedattheendof2013,when thePeruvianscrackeddownon illegalgoldshipm ents

   from itsinternationalairport.




   15 Travelrecords confirm thatGRAN DA and BA RRA GE,and RO DR IG U EZ travelled to Lim a,
   Peru from M iam ion the dayssurrounding P.F.'Sbirthday.



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                C.     In early 2014,CS1's business with N TR in Peru felloffas little gold was

  exported from Peru and gold began being sm uggled through Boliviaand Ecuador.During thistim e

  CS1 assisted G RAN DA ,BA RR AGE,and RO DRIGU EZ in learning aboutgold fçleads''in Bolivia.

                d.     ln late 2014, G RAN D A approached C S1 w ith a new Peruvian front

  company scheme,involving illegalgold being spread among m any frontcompanies exporting

  sm allvolum es atthe sam e tim e,rather than one frontcom pany ata tim e exporting high volum es,

  so asto avoid suspicion.CS 1and G RAN D A w enton to use the m anp front-com pany approach to

  againexportillegally mined gold to NTR from Penz;GRANDA dictated which companiestoroute

  the gold through.
                C.     Later GRANDA asked CS1 to investigate the possibility of sm uggling

   Peruvian gold though a Caribbean island,and introduced CS1to individualscapable ofmoving

  gold through the Caribbean island,but the logistics of m oving gold from Lim a,Peru to the

   Caribbean islandproved too difficult and thescheme wasnotexecuted.

                        Overthe courseofseveralyears,CS1wasinvolved with the sale of$100s
   ofmillionsworth ofgold to NTR from Peru;CS1believesthatonly oneshipm entvalued around

   $50,000m ighthavebeen legal.

          43.    ContidentialSource2 (CS2):          ln late 2016, 1aw enforcem ent interview ed

   CS2regarding hisadm ittedillegalgoldsmugglingand money laundering activities.CS2 explained

   thathe conspired with NTR,tlzrough BARRAGE and RODRIGUEZ,to comm itgold sm uggling

   and m oney laundering,involving Chile,Argentina,A frica,and Europe,and thatBA RR AGE and

   R ODR IG UEZ acknow ledged their partin the illegalgold sm uggling and laundering conspiracy

   involving Peru,Ecuadorand Bolivia.M ore specifically,according to C S2:
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                   a.    In oraround 2014,in Penl,CS2 m ade contactw ith 6GSM UG G LER 1,'*who

   was also involved in the gold business,and,specifically,selling Peruvian gold.CS2 agreed to

   purchase gold from SM U G G LER 1 and both agreed itw as preferable to sm uggle the gold across

   the Peruvian borderinto Chile and then exportthe gold from Chile concealing itstrue country of

   origin Pel'u.

                   b.    In orderto sm uggle the gold,CS2 would fly to the Chile-peru borderw here

   hewould driveacrosstheborderwith cash (often $1,000,000 USD ormore)hidden inthedoor
   panels ofhiscar.CS2 then w ould rendezvous with SM U GG LER 1 in the Peruvian city of Tacna

   w here he would exchange the cash for gold and then drive back across the border w ith the gold

   hidden in the doorpanels.CS2 sm uggled gold from Peru to Chile in this fashion,five to ten tim es

   during the sum m er of 2014, m oving a total of approxim ately 300kg of gold,w orth around

   $10,000,000 USD,and then selling itto another company forexportfrom Chile.In oraround
   A ugust2014,C S2'sPeruvian gold sm uggling schem e w asdiscovered by Chilean authoritieswho

   seized som e ofthe contraband gold afterC S2 crossed the borderinto Chile.

                         A fter the seizure, CS2 w as no longer able to purchase gold from

   SM U G GLER 1 in Peru.CS2 began searching for a new supplier of gold and a new exporting

   com pany.CS2 began to negotiate w ith an A rgentine gold dealer:ISSM U G GLER 2.'9SM U GG LER

   2 wasw illing and able to sm uggle contraband gold from M endoza,Argentina to CS2 in Santiago,

   Chile.CS2 wasmissing only an exportpartnertosellthegold to.CS2 asked hisfonnersmuggling

   partner from Peru, SM UG G LER 1,w hether he had any export contacts and SM U G GLER 1

   suggested NTR in M iam i,Florida and itsrepresentative,ROD RIGU EZ .IG


   16 InternalN TR records confirm thatNTR previously im ported gold from an apparentPeruvian
   frontcompany associated with SM UGGLER 1,which exported over$50 m illion worth ofgold to
   N TR overthe course ofseveralm onths in 2013.

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                 d.     ln or around Septem ber 2014, CS2 subm itted applications w ith N TR to

   begin selling and exporting gold through histwo corporations,which w ere approved.ln oraround

   November2014,CS2 senthisfirstshipmentofgold to N TR in M iam iand traveled to M iam ito

   m eetRODRIGUEZ and otherNTR employeesin orderto discusstheirfuturebusiness.CS2stayed

   ata Hyatt Hotel in Coral Gables,Florida for this first trip to M iami,and,after he arrived,

   RODRIGUEZ picked up CS2 from theCoralGables'hotel,along with BARRAGE.BARRAGE

   and ROD RIGU EZ then took CS2 to lunch atthe çGllouston's''restaurantin CoralG ables.

                        During lunch,BARRAGE explained thathewasNTR'SVice Presidentof

   Latin A m erica and the Caribbean,and RO D RIG UEZ explained thathe w as N TR 'S D irector of

   SalesforLatin A m erica.Both explained thatCS2 could trustthem because they wanted to support

   him and keep a business relationship going in the long term . BARR AG E and RO DRIG U EZ

   explained that they could help CS2's business grow by getting his paym ents to him sooner.

   BARRAGE and RODRIGUEZ stated thatSM UGGLER 1 was a good friend oftheirs and that

   theyhad methim in Lim a,Peruseveraltim es,and RODRIGUEZ m entioned thatSM UGGLER 1

   had inform ed them of C S2's previous Peruvian sm uggling operation. BA RR AG E and

   RODRIGUEZ acknowledged diftk ultiesexporting gold directly from Peruto the U.S.and thata

   lotofgold is sm uggled f'
                           rom Peru to the neighboring countriesofBolivia and Ecuadorforexport

   totheU .S.BARRAGE and RODRIGUEZ then statedthattheyexported alotofgoldfrom Bolivia

   and Ecuador,which CS2 intem reted asasignalthatthey were also smuggling gold from Peru.

                        Duling thelunch,CS2explained to BARRAGE and RODRIGUEZ hisplan

   to sm uggle gold from Argentina to Chile forsale to N TR.BA RRA GE and RO DR IG U EZ asked

   whether itwaspossible to do so w ithoutgetting caught,and CS2 explained thatitw ould depend

   on hisability tojustify theamountofgoldhewasexportingtotheChilean customsauthorities.


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  BARRAGE andRODRIGUEZaskedhow CS2wouldjustifytheamounts,andCS2explainedthat
  he would claim the gold came from coins he was purchasing and sm elting.BARRAGE and

   RODRIGUEZ responded thatCS2 should attemptthis scheme and wenton to explain thatNTR

   wasaprestigioustirm ,accredited byCOM EX and theLBM A and thatoncethe gold reached the

   U.S.,there would be no issues.A11agreed thatfuture conversationsregarding smuggling should

   takeplaceinperson and notoverphonesorin writing.

                        A fter lunch,BARR AG E and RO D RIG U EZ took CS2 to N TR 'S facility in

   Doral,Florida foratour.A Rerthetour,a1lthreem etin an office and reiterated theiragreem entto

   smuggle gold fl'
                  om Argentina to Chile and exportthe gold from Chile to the U .S.,without

   disclosing A rgentina asthe tnze country oforigin on any custom sdocum ents orotherwise.

                 h.     D uring C S2's stay in M iam i,BAR RAG E and ROD RIG UEZ assisted CS2

   in forming a corporation in M iam i,and opening a corresponding U.S.bank account.CS2 had

   previously explained to RO DRIGU EZ thathe was having difficulties m aintaining bank accounts

   in Chile due to anti-money laundering compliance reasons, and at the Houston's lunch,

   BARRAGE and RODRIGUEZ explained to CS2 thattheyhad an accountantin M iam iwho could

   assisthim in opening a U.S.corporation account.Atone point,RODRIGUEZ drove CS2 to an

   accountant's office and then to a bank representative (both ofwhom RODRIGUEZ had a
   relationship with and introduced CS2 to)and successfully assisted CS2 in forming a Florida
   corporation and bank account.
                        After CS2's trip to M iami and m eetings with BARRAGE and

   RO DRIG UEZ,he proceeded to purchase the sm uggled gold from SM UG G LER 2 in Argentina

   and exportitto NTR in M iami,which falsely claim ed Chile asthe country oforigin in itsU.S.

   custom sdeclarations.


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                         ln oraround Decemberof2014,CS2 exported approximately $5.5 million
   USD worth ofgold to NTR and would go on to exportapproxim ately an additional$15 m illion
   USD worth ofgold to NTR.CS2 estimates that90% ofthis gold was illegally sm uggled from

   A rgentina.

                 k.      After the successful shipm ents of sm uggled gold in December 2014,

   BARRAGE and RODRIGU EZ traveled to Santiago,Chileto visitwith CS2 in oraround January

   2015.Atameeting in CS2'office,BARRAGE,RODRIGUEZ,and CS2 confirm ed thatthe gold

   sm uggling operation from Argentina to the           had been a success. BARRAGE and

   ROD RIGU EZ stated thatthey knew C S2 had begun to send the sm uggled gold based upon the

   sudden increasein volume.

                         Dudng the meeting,CS2 mentioned the possibility of purchasing large

   amounts of gold in Africa and inquired of NTR'S ability to purchase the gold from him .

   BARRAGE and RODRIGU EZ explainedthattheywould notbeallowed topurchasegold ifAfrica

   w as listed as the country oforigin.BA RRA GE and ROD RIG UEZ explained,however,thatthey

   wanted topurchasethegold and thatthey could assistCS2 inm oving thegold through Europein

   orderto obscure itstnze country oforigin.BARRAGE and RODRIGUEZ explained thatitwas

   sim ply am atterofcoordinating activity,thatN TR hasofficesin Europe,including in Birm ingham ,

   United Kingdom and Barcelona,Spain,and thatN TR hasknowledgeofEuropean custom s'laws.

   BARRAGE and RODRIGUEZ encouraged CS2 to travelto Africa and anunge to purchase and

   smuggleasmuch goldaspossible.BARRAGE and RODRIGUEZ had explainedtoCS2thatNTR

   paysthem a com m ission based upon the volum e ofgold they purchase and thatthey were always

   looking and w illing to purchase m ore gold.




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                 m.     Lateratlunch in Santiago,Chile,BA RRA GE and RO D RIGU EZ proposed

   an additionalgold sm uggling schem e to C S2.BA RRA GE and R OD RIG U EZ explained thatN TR

   had a potentialcustomerin Ecuadorwho was selling gold sm uggled from Peru,butthatNTR'S

   anti-money laundering compliance departmenthad denied the custom er approvalbecause the

   potential customer was also in the business of hom e appliances, which was considered

   suspicious.l; BA RR AGE and RO D RIG U EZ proposed thatCS2 purchase the gold from Ecuador

   using theU .S.com pany theyhad helped him create and then sellthe smuggled Peruvian gold to

   N TR .

                 n.     BA RM GE and ROD RIG UEZ stated that they w ere buying 200 to 300

   kilogram spermonth ofsmuggled Penw ian gold from acooperativein Bolivia.lB

                 o.      Laterthatnight,BARRAGE and RODRIGUEZ took CS2 outto a club in

   Santiago,Chile,wherethey entertained him with alcoholand prostitutes,which theypurchased.lg

                 p.      BA RR AG E and RO D RIGU EZ had encouraged C S2's travelto A fdca and

   wereinterested in theam ountofgold thatcould bepurchased there.In oraround February 2015,

   CS2traveledtoTanzania,Africaforapproximatelyseventeen(17)days.W henCS2arrivedatthe
   airportin Tanzania,hewasim mediatelyintroduced to a localgold supplier.


   17 Internal NTR em ails corroborate that RODRIGUEZ, with BARRAGE, had previously
   subm itted an application to open an account w ith an Ecuadorian individual involved in the
   appliance business,which was rejected by NTR because tçgalppliance businesses have been
   historicalvenues forNorth American-south Am erican traffickersto launderdrug cash.''CS2 is
   notknown to havehad any accessto internalNTR em ails.
   18Intem alN TR em ailsand salesrecords,asw ellasU .S.custom sim portdata,confinn thataround
   the tim e ofthism eeting with CS2,N TR w asexporting gold from çtm ining cooperatives''in Bolivia
   through a single com pany,w ith totalvolum es exceeding 700 kg perm onth.
   19Encrypted chats am ong GR AN DA ,BA RRAG E,and ROD RIG U EZ corroborate theirpenchant
   forhiring prostitutesw hile in Latin Am erica on gold business,and even show the co-conspirators
   sharing photosoftheirlatestprostitutesand com paring them to previousprostitutes.

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                         Thelocalgold suppliershowed CS2 alotofgold thatwasnotyetexported

  outofAfricabecause the gold had notcleared custom sdue to unpaid taxes.Aftershowing CS2

  this gold,CS2 agreed to pay to begin the process.

                         CS2 called BA RRA GE and R OD RIGU EZ to give them an update and

   BA RRAG E and ROD RIG U EZ encouraged CS2 to keep trying to w ork on getting the sm uggled

   gold outofAfrica,and reiterated thatthey would a11makea largeprofiton m oving the gold out

   ofA frica to sellto N TR .

                  S.     Ultimately,the trip was unsuccessful.CS2 lostapproximately $300,000
   U SD ,m ostly in unreturned paym entsto the A frican supplier,in the failed attem ptto sm uggle gold

   through A frica to N TR.CS2 and N TR neverreceived any ofthe gold.



                                            CO N CLU SIO N

          44.     Based upon the information provided above,lrespectfully submitthatprobable

   cause existsto believe thatfrom in oraround January 2013 and continuing to the presentSam er

   H.BARRAGE,Renato J.RODRIGUEZ, and othersconspired to transport,transm itand transfer

   funds to a place in the U nited States from ortllrough a place outside the United States,w ith the

   intent to prom ote the carrying on of specified unlaw ful activity,in violation of Title 18,United

   StatesCode,Sections1956(h)and 1956(a)(2)(A).Thespecifiedunlawfulactivityincluding:
                          The entry ofgoodsby m eans offalse statements,in violation ofTile 18,

   U nited States Code,Section 542;
                  b.      An offense against a foreign nation, that is, a violation of, Legislative

   Decree l102,Article 307-A ,Crim eoflllegalM ining againstthe RepublicofPeru,with respectto
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   which the United States would be obligated to by a multilateraltreaty to extradite the alleged

   offenderiftheoffenderwere found within theterritory oftheUnited States;and

                        An offenseagainstaforeignnation involving them anufactureimportation,

   sale or,distribution ofa controlled substance (as such term isdefined forthe purpose ofthe

   ControlledSubstancesAct).


                                         Respectfully subm itted,


                                                       /x7
                                                         '
                                                         r -.
                                                            >
                                                            x---.
                                         RE   A W ILLS,SPECIA L A G EN T,
                                         FEDERA L BUR EAU O F IN V ESTIG ATION

   Sworn qnd subscribed beforeme
   this2I*%ayofMarch,2017.

                          .
                              $    >
   AN DREA M .SIM ON TON
   UN ITED STA TES M A GISTR ATE JU D GE




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